           Case 1:21-cr-02032-SMJ             ECF No. 8   filed 09/01/21      PageID.9 Page 1 of 1




1
                                         UNITED STATES DISTRICT COURT
2                                       EASTERN DISTRICT OF WASHINGTON

3    UNITED STATES OF AMERICA,                              )
                                                            )         No. 1:21-CR-2032-SMJ
4                     Plaintiff,                            )
         vs.                                                )         Defendant’s Assertion of
5                                                           )         Fifth and Sixth Amendment
     Thomas Alex Morrison, Jr.,                             )
6                    Defendant.                             )
                                                            )
7

8    TO:       WILLIAM D. HYSLOP, ACTING UNITED STATES ATTORNEY

9              I, the above-named defendant, hereby assert my rights under the Fifth and Sixth Amendments of

10   the United States Constitution, including but not limited to my rights to remain silent and to have

11   counsel present at any and all of my interactions with the government or others acting on the

12   government’s behalf. I do not wish to, and will not, waive any of my constitutional rights except in the

13   presence of counsel. I do not wish to have, nor do I consent to, any contact with any government

14   official, including but not limited to law enforcement agents, except through my counsel. I do not want

15   the government or others acting on the government’s behalf to question me, or to contact me seeking a

16   waiver of any rights, unless my counsel is present. The Government should so instruct its agents.

17

18
     ______________________________                             ______________________________
                                                                        09-01-2021
19   Interpreter Signature                                      Date

20
     ______________________________                             ______________________________
                                                                                   L. Faviola Gutierrez
21   Interpreter Printed Name                                   Defendant Signature

22                                                              I reviewed this document with
                                                                Mr. Morrison telephonically on
                                                                September 01, 2021. He consents
23                                                              on me signing on his behalf.

24                                                         1
                Defendant’s Assertion of
                Fifth and Sixth Amendment Rights
25
